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                         IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                     CHARLESTON DIVISION


B. P. J., et al.,
                                Plaintiffs,

v.                                                  CIVIL ACTION NO. 2:21-cv-00316

WEST VIRGINIA STATE BOARD OF EDUCATION, et al.,

                                Defendants.



                                              ORDER

         Pending before the court is the parties Joint Motion to Place Documents Under Seal. [ECF

No. 377]. For good cause shown, the motion is GRANTED. The court directs the clerk to place

the following documents UNDER SEAL:

             x      ECF No. 280-8

             x      ECF No. 285-9

             x      ECF No. 286-1

             x      ECF No. 289-20

         The parties are ORDERED to file redacted copies of those documents in accordance with

Local Rule 49.1.1(a).

         The court DIRECTS the Clerk to send a copy of this Order to counsel of record and any

unrepresented party.

                                              ENTER:        June 7, 2022
